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                                                                                    Attachment: Application (1743 : House of Praise Church)




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                                                                                    Attachment: Application (1743 : House of Praise Church)




                                                       Exhibit A, p. 002
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                                                                                    Attachment: Application (1743 : House of Praise Church)




                                                       Exhibit A, p. 003
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                                                                                    Attachment: Application (1743 : House of Praise Church)




                                                       Exhibit A, p. 004
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                                                                                    Attachment: Application (1743 : House of Praise Church)




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